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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 In re:                                                      Chapter 11
                           1
 USA GYMNASTICS,                                             Case No. 18-09108-RLM-11

                          Debtor.


                               NOTICE OF MOTIONS AND HEARING

          PLEASE TAKE NOTICE that on June 28, 2019 USA Gymnastics, as debtor and debtor in

possession in the above-captioned chapter 11 case (the “Debtor”), filed the following motions

(collectively, the “Motions”), which have been set for a hearing (the “Hearing”) on Wednesday,

July 24, 2019 at 1:30 p.m. (Prevailing Eastern Time) in Room 329 of the United States

Bankruptcy Court, 46 East Ohio Street, Indianapolis, Indiana 46204:

             Debtor’s Second Motion For Order Extending The Time Within Which The Debtor
              Must Assume Or Reject A Certain Unexpired Lease Of Nonresidential Real Property
              [Dkt. 619];
             Debtor’s Second Motion For Order Extending The Debtor’s Exclusive Periods To File
              And To Solicit Acceptances Of A Chapter 11 Plan [Dkt. 620]; and,
             Debtor’s Motion For Order Authorizing The Debtor To Assume Nonresidential Leases
              [Dkt. 621].

          PLEASE TAKE FURTHER NOTICE that any objections to the Motions must be filed

by Wednesday, July 17, 2019 at 4:00 p.m. (Prevailing Eastern Time).

          PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

to participate in the Hearing by conference call is 1-888-273-3658, passcode: 9247462#. All

callers shall keep their phones muted unless addressing the Court. All callers must identify



1 The last four digits of the Debtor’s federal tax identification number are 7871.
                                                                                The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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themselves and the party(ies) they represent when addressing the Court. Callers shall not place

their phones on hold during the Hearing.

       PLEASE TAKE FURTHER NOTICE that copies of the Motion may be accessed through

the case website at: https://omnimgt.com/usagymnastics, or by contacting the Debtor’s attorneys,

on PACER, or from the Clerk of the Court.

Dated: July 1, 2019                                  Respectfully submitted,

                                                     JENNER & BLOCK LLP

                                                     By: /s/ Catherine Steege

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